  9:24-cv-04914-RMG     Date Filed 10/16/24   Entry Number 48-2    Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA

                               BEAUFORT DIVISION



RICHARD ALEXANDER
MURDAUGH, JR.,
               Plaintiff,

vs.
                                          Case No. 9:24-cv-04914-RMG
BLACKFIN, INC., WARNER BROS.
DISCOVERY, INC., WARNER
MEDIA ENTERTAINMENT PAGES,
INC., CAMPFIRE STUDIOS INC.,
THE CINEMART LLC, NETFLIX,
INC., GANNETT CO., INC. AND
MICHAEL M. DEWITT, JR.,

                 Defendants.
    9:24-cv-04914-RMG          Date Filed 10/16/24        Entry Number 48-2      Page 2 of 2




           DECLARATION OF MERYL C. GOVERNSKI IN SUPPORT OF
          DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT

I, Meryl C. Governski, hereby declare pursuant to 28 U.S.C. § 1746 as follows:

    1. I am admitted to practice law before the courts of the District of Columbia and have been

admitted to this court pro hac vice. I am a partner at Willkie Farr & Gallagher LLP, who, along

with Nelson Mullins Riley & Scarborough, LLP, are attorneys for Defendants Blackfin, Inc.

(“Blackfin”), Warner Bros. Discovery, Inc. (“WBD”) and Warner Media Entertainment Pages,

Inc. (“Warner Media Entertainment”) (collectively, with the corporate entities disclosed in the

Amended Answer to Local Rule 26.01 Interrogatories, “Warner Entities”) (Blackfin, with Warner

Entities, “Moving Defendants”).1

    2. I submit this Declaration in support of the Moving Defendants’ Memorandum of Law in

support of their Motion to Dismiss Plaintiff’s Complaint.

    3. Exhibits A-C are true and correct copies of the documentary, “Murdaugh Murders: Deadly

Dynasty,” which the Complaint alleges was produced by Blackfin and aired on discovery+ and the

Investigation Discovery television channel (“Blackfin Documentary”).         We intend to lodge

Exhibits A–C with the Court and to provide copies of the same to opposing counsel shortly after

filing the motion.

    4. Attached as Exhibits D–F are true and correct copies of transcripts of the Blackfin

Documentary.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: October 16, 2024
Washington, D.C.                                  /s/ Meryl C. Governski
                                                  Meryl C. Governski



1
 For the reasons explained in the Amended Answer to Local Rule 26.01 Interrogatories (Dkt. 44),
WBD and Warner Media Entertainment are not the proper parties.


                                                  2
